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                                                             FILED
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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,              ) NO. CR-20-481 RS
                                            )
14          Plaintiff,                      ) MEMORANDUM IN SUPPORT OF THE UNITED
                                            ) STATES’ MOTION FOR DETENTION
15     v.                                   )
                                            )
16   JOSEPH ALBERT COREY,                   )
                                            )
17          Defendant.                      )
                                            )
18

19   UNITED STATES OF AMERICA,                      ) NO. CR-19-530 EMC
                                                    )
20          Plaintiff,                              ) MEMORANDUM IN SUPPORT OF THE UNITED
                                                    ) STATES’ MOTION FOR DETENTION
21       v.                                         )
                                                    )
22   JOSEPH ALBERT COREY,                           )
     a/k/a Dennis Dupont; a/k/a Dennis Dupon; a/k/a )
23   Jason Levy; a/k/a Peter Katz; a/k/a Theodore )
     Bergstrom; a/k/a Adam Bauer; a/k/a Lawrence )
24   Greenberg; a/k/a Adam Goldberg; a/k/a David )
     Heimlich,                                      )
25                                                  )
            Defendant.                              )
26                                                  )
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     UNITED STATES’ DETENTION MEMORANDUM
     CR-20-481 RS; CR-19-530 EMC            1
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 1          Joseph Corey has no regard for the court, and no respect for the law. He is a seasoned fraudster

 2 who has proven that he is capable — and shockingly adept at — fleeing from the law. For nearly an

 3 entire year, Corey has been a fugitive from justice, as he awaits sentencing in one criminal case and

 4 arraignment in another. The crimes that Corey has pleaded guilty to and been charged with involve false

 5 identities, fraudulent representations, and disregard for that which belongs to others. More important,

 6 Corey has proven his inability to course correct, perhaps even to recognize right from wrong. That same

 7 criminal mindset is what made Corey a successful fugitive between February 2020 and now.

 8          Locating Corey has required enormous time, energy, and resources, including cross-border

 9 planning and cooperation. Those efforts finally led to Corey’s arrest on January 13, 2021. True to his

10 modus operandi, at the time of his arrest in Monterrey, Mexico, Corey had several false identifications,

11 including an ID and badge identifying him as a Special Agent for the Central Intelligence Agency

12 (CIA). He also insisted that he was “Michael Westin” until the arresting officers made it clear that they

13 knew exactly who he was.

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     UNITED STATES’ DETENTION MEMORANDUM
     CR-20-481 RS; CR-19-530 EMC                     2
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27                        Photos from Corey’s January 13 arrest in Mexico

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     UNITED STATES’ DETENTION MEMORANDUM
     CR-20-481 RS; CR-19-530 EMC             3
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 1 I.       Summary

 2          In August 2019, Corey was charged with one count of mail fraud.1 Soon after, he was released

 3 on bail. On November 20, 2019, Corey pleaded guilty to the mail-fraud charge. Based on evidence of his

 4 ongoing unlawful activity — even as he awaited sentencing on the mail-fraud charge — the government

 5 sought to reopen detention. Corey first sought continuance of the bond hearing date and then fled. After

 6 two failures to appear, a bench warrant was issued for his arrest. Based on bank records and other

 7 evidence, Corey appears to have fled to Mexico soon after his nonappearance.

 8          In December 2020, a new criminal case was filed against Corey, charging him with six counts:

 9 one count of conspiracy to commit wire fraud, three counts of wire fraud, and two counts of money

10 laundering.2 The conspiracy charge covers a period between March 2019 (at the latest) and October

11 2020 (at the earliest). In other words, Corey continued to commit new crimes whilst on pretrial release,

12 even as he pretended to accept responsibility for his conduct on the mail-fraud charge.

13 II.      Legal Standard

14          The Bail Reform Act of 1984 permits pretrial detention of a defendant without bail where “no

15 condition or combination of conditions will reasonably assure the appearance of the person as required

16 and the safety of any other person and the community.” 18 U.S.C. § 3142(e)(1). Detention is appropriate

17 where a defendant is either a danger to the community or a flight risk; it is not necessary to prove both.

18 United States v. Motamedi, 767 F.2d 1403, 1406 (9th Cir. 1985). A finding that a defendant is a danger

19 to the community must be supported by clear and convincing evidence. 18 U.S.C. § 3142(f)(2)(B). A

20 finding that a defendant presents a risk of non-appearance need only be supported by a preponderance of

21 the evidence. Motamedi, 767 F.2d at 1406.

22 III.     Argument

23          The government has the burden to prove, by a preponderance of the evidence, that Corey poses a

24 risk of non-appearance. But here, Corey himself has established the immitigable risk he poses. And he

25 has done so with such overwhelming proof that there is little else left for the government to show.3

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     1
     19-cr-530, Dkt 1.
27   2
     20-cr-481, Dkt 1.
28 3 Corey also poses a danger to the community because he continued his economic crimes even after he
   was charged with mail fraud and released on bail. See United States v. Reynolds, 956 F.2d 192, 192 (9th
     UNITED STATES’ DETENTION MEMORANDUM
     CR-20-481 RS; CR-19-530 EMC                     4
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 1          A.      2019

 2          In August 2019, Corey was charged with a mail-fraud scheme under 18 U.S.C. § 1341. As part

 3 of that scheme, Corey used the name “Dennis Dupont” to open a bank account for a fake company. He

 4 funded that account by depositing unauthorized checks from a victim’s bank account, and then

 5 laundering those proceeds through gold-coin purchases.

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14                                          Corey as “Dennis Dupont”

15          The FBI searched Corey’s residence at the time of arrest. During that search, agents recovered,

16 among other things, more than a dozen driver’s licenses bearing Corey’s photo but false names, several

17 counterfeit social-security cards, and nearly a dozen cell phones that were labeled to indicate the false

18 identities to which they corresponded. A search of the phones revealed that they were logged into, or

19 received communications from, over 20 different email accounts.

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26                Examples of false identification recovered during search of Corey’s residence
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28 Cir. 1992). But given the overwhelming evidence of flight risk, the Court need not address the issue of
   danger that Corey poses if released again.
     UNITED STATES’ DETENTION MEMORANDUM
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 1          In November 2019, as the government continued to investigate additional schemes involving

 2 Corey, he entered an open plea to the mail-fraud count.

 3          B.     2020

 4          Whilst Corey awaited sentencing for mail fraud, the government sought to reopen detention

 5 based on “evidence that suggests that Mr. Corey is continuing to engage in fraudulent conduct since his

 6 arrest.” Exhibit A. That hearing was initially set for February 14, 2020,4 but defense counsel requested

 7 that the hearing be moved: “I’ve spoken with Mr. Corey and he would prefer the 18th as he cannot get a

 8 flight here for the 14th on such short notice,” Exhibit A.

 9          That additional notice was seemingly all that Corey needed to escape. He failed to appear for his

10 bond hearing before Magistrate Judge Spero on February 18, 2020.5 The court gave him an additional

11 day, but he failed to appear again on February 19, 2020.6 As a result, Magistrate Judge Spero issued a

12 bench warrant for his arrest. Corey’s sentencing before Judge Chen, scheduled for February 26, 2020,

13 was continued a few times and ultimately vacated.7

14          In December 2020, in a new criminal case separate from the mail fraud, Corey was indicted with

15 conspiracy to commit wire fraud, in violation of 18 U.S.C. § 1349, three counts of wire fraud, in

16 violation of 18 U.S.C. § 1343, and two counts of money laundering, in violation of 18 U.S.C. § 1957. As

17 part of the wire-fraud scheme, Corey impersonated real doctors to apply for loans, purportedly for

18 medical devices. The defrauded lenders then wired the fraudulent proceeds to bank accounts set up by

19 Corey with names that closely resembled or were identical to that of legitimate medical-device

20 suppliers. The proceeds were subsequently laundered through purchases of gold.

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     19-cr-530, 02-11-2020 minute entry.
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27   19-cr-530, Dkt 26.
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     19-cr-530, Dkt 25.
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     19-cr-530, Dkt 31.
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 8                   One of the many false identities that Corey assumed to commit his crimes

 9          C.      2021

10          It took months of planning and preparation to locate and arrest Corey. The operation involved

11 not only the FBI (both in the U.S. and legat) but also local and state Mexican law enforcement. Those

12 extensive cross-border efforts finally yielded results when Corey was arrested in Monterrey, Mexico on

13 January 13, 2021. At the time of his arrest, he was carrying several false identifications, including those

14 that identified him as a Special Agent for the CIA.

15                                                        *****

16          Because there are no conditions of release that would reasonably assure his appearance as

17 required, the United States respectfully requests that Corey be detained until trial.

18
     DATED: January 14, 2021                                      Yours sincerely,
19
                                                                  DAVID L. ANDERSON
20
                                                                  United States Attorney
21

22                                                                _/s/ Mohit Gourisaria_____
                                                                  MOHIT GOURISARIA
23                                                                Assistant United States Attorney
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     UNITED STATES’ DETENTION MEMORANDUM
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Gourisaria, Mohit (USACAN)

From:                                     Candis Mitchell <Candis_Mitchell@fd.org>
Sent:                                     Thursday, February 13, 2020 3:52 PM
To:                                       Priedeman, Molly (USACAN)
Subject:                                  RE: Joseph Corey - Bond hearing


Molly,

I have some appointments in the morning and afternoon, but will try to see the discovery around 11:30 if that will work, otherwise I would be next available to
see it at about 2:30pm.


Candis Mitchell (Preferred pronouns: she/her)
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Federal Public Defender ‐ Northern District of California
19th Floor Federal Building ‐ Box 36106
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candis_mitchell@fd.org

From: Priedeman, Molly (USACAN) <Molly.Priedeman@usdoj.gov>
Sent: Thursday, February 13, 2020 2:46 PM
To: Candis Mitchell <Candis_Mitchell@fd.org>
Subject: RE: Joseph Corey ‐ Bond hearing

Candis,

After looking at this more closely, I don’t think I will be able to get you redacted copies by tomorrow. There is PII throughout, which makes it very difficult. I can
make the documents available to you tomorrow to review in our office before 3 pm tomorrow, and will follow up with redacted copies as soon as I am able. If
you want to come review them tomorrow, please let me know what time what works best for you.

Thanks,

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                                       Case 3:20-cr-00481-EMC Document 4 Filed 01/14/21 Page 9 of 11

Molly

From: Candis Mitchell <Candis_Mitchell@fd.org>
Sent: Thursday, February 13, 2020 1:38 PM
To: Priedeman, Molly (USACAN) <MPriedeman@usa.doj.gov>
Subject: RE: Joseph Corey ‐ Bond hearing

Molly,

Please produce the redacted documents to me and I will follow up should I need to see any unredacted documents.


Candis Mitchell (Preferred pronouns: she/her)
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candis_mitchell@fd.org

From: Priedeman, Molly (USACAN) <Molly.Priedeman@usdoj.gov>
Sent: Thursday, February 13, 2020 11:52 AM
To: Candis Mitchell <Candis_Mitchell@fd.org>
Subject: RE: Joseph Corey ‐ Bond hearing

Hi Candis,

The government has evidence that suggests that Mr. Corey is continuing to engage in fraudulent conduct since his arrest. I intend to rely on a number of
documents during the hearing. I believe I can produce redacted copies to you tomorrow, or you can come inspect the unredacted copies in our office
tomorrow. Just let me know what you prefer. The documents contain a lot of PII, so there a number of redactions.

Best,

Molly

From: Candis Mitchell <Candis_Mitchell@fd.org>
Sent: Wednesday, February 12, 2020 10:48 AM
                                                                               2
                                      Case 3:20-cr-00481-EMC Document 4 Filed 01/14/21 Page 10 of 11

To: Priedeman, Molly (USACAN) <MPriedeman@usa.doj.gov>
Subject: RE: Joseph Corey ‐ Bond hearing

Molly,

What is the reason that you’re calling the bond hearing?


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From: Priedeman, Molly (USACAN) <Molly.Priedeman@usdoj.gov>
Sent: Tuesday, February 11, 2020 4:19 PM
To: Candis Mitchell <Candis_Mitchell@fd.org>
Subject: RE: Joseph Corey ‐ Bond hearing

Got it, I will reach out to Karen.

From: Candis Mitchell <Candis_Mitchell@fd.org>
Sent: Tuesday, February 11, 2020 3:51 PM
To: Priedeman, Molly (USACAN) <MPriedeman@usa.doj.gov>
Subject: RE: Joseph Corey ‐ Bond hearing

I’ve spoken with Mr. Corey and he would prefer the 18th as he cannot get a flight here for the 14th on such short notice.


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                                      Case 3:20-cr-00481-EMC Document 4 Filed 01/14/21 Page 11 of 11

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From: Priedeman, Molly (USACAN) <Molly.Priedeman@usdoj.gov>
Sent: Tuesday, February 11, 2020 10:59 AM
To: Candis Mitchell <Candis_Mitchell@fd.org>
Subject: RE: Joseph Corey ‐ Bond hearing

My apologies Candis. If you prefer, I’m happy to move the hearing to this Thursday or Tuesday, February 18. Just let me know, thanks.

From: Candis Mitchell <Candis_Mitchell@fd.org>
Sent: Tuesday, February 11, 2020 10:54 AM
To: Priedeman, Molly (USACAN) <MPriedeman@usa.doj.gov>
Subject: Joseph Corey ‐ Bond hearing

Molly,

I just got notice that you intend to have Mr. Corey come in for a bond hearing on Friday. I had previously set appointment at that time on Friday, as a
professional courtesy, I would have appreciated an inquiry as to my availability for Friday. I will see if Mr. Corey can come from Los Angeles on such short notice.


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